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Exhibit |
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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

DONNA CURLING, et al.

Plaintiffs,
CIVIL ACTION
Vv.
FILE NO. 1:17-cv-2989-AT
BRAD RAFFENSPERGER, et al.,

Defendants.

 

 

DECLARATION OF CHRIS HARVEY

 

Pursuant to 28 U.S.C. § 1746, I, CHRIS HARVEY, make the following
declaration in support of the State Defendants’ Response In Opposition To
Coalition Plaintiffs’ Motion For Preliminary Injunction On Paper Pollbook
Backups in the above-captioned matter.

1. I am over the age of 21 years, and I am under no legal disability
which would prevent me from giving this declaration. If called to testify, I
would testify under oath to these facts.

2. I currently am the Director of Elections in the Office of the Georgia
Secretary of State. I have held that position since July 2015. From August 2007
to July 2015, I was the Chief Investigator and Deputy Inspector General for

the Secretary of State’s office, investigating, among other things, potential
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violations of state election law. For more than a decade, I have acquired
firsthand knowledge of Georgia’s election processes at both the state and
county level.

The Electors List

3. The Secretary of State’s Office provides each county with a paper
copy of the official electors list by precinct, which is mandated by state law.
The paper copy of the official electors list includes the name, address, date of
birth, and district combination information for each voter assigned to a
precinct. If the electors list is pulled after a voter has requested a mail-in
absentee ballot or the voter has voted absentee, either by mail or in-person
early voting, the electors list will include a notation indicating that the voter
has voted absentee or requested a mail-in absentee ballot.

A. The Secretary of State’s Office relies on an outside vendor to print
the paper backup of the electors list due to the scope and size of the project.
The electors lists are ordered by the liaison for their county, usually starting
the Friday after the voter registration deadline, and each list is ordered
individually. Larger counties are usually printed last—sometimes not until
early in the week before the election to give the counties as much time as

possible to enter any remaining eligible voter registrations.
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6. In addition to the paper copy of the official electors list, the
Secretary of State’s Office also generates a “supplemental list” on the Friday
prior to the date of the election. The supplemental list contains the list of voters
added to ENET between the time when the electors list is initially pulled for
an election and the date the supplemental list is pulled, which is the Friday
before the election. The supplemental list is generated in ENET and the
counties are able to print those lists and distribute them to the polling places.

6. The process for printing and separating by precinct the official list
of electors is time-consuming because it requires printing and distributing the
individual lists to each of the 159 counties. The printed electors list for a single
precinct may consist of several boxes of paper.

T If a voter is not located in the electronic pollbook or an electronic
pollbook is malfunctioning for any reason, the paper copy of the official electors
list can be used to determine whether a voter is assigned to the precinct and
polling location.

8. County registrars are also required provide poll managers in each
precinct with a copy of the electors list for that precinct prior to the opening of
the polls on election day, which include the name of voters who have been

mailed or delivered an absentee ballot.
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9. The electors lists provided by county registrars to the poll
managers in each precinct are in the electronic pollbooks, which are updated
after the close of early voting with current voter information, including
whether voters have outstanding mail-in absentee ballots and whether those
ballots have been returned or the voter voted in person during early voting.

Processing Absentee Ballots

 

10. Absentee ballots must be returned to the county elections officials
by the close of the polls on Election Day, which is 7:00 PM. Although in person
early voting ends on the Friday before Election Day, mail-in absentee ballots
continue to be received and processed by county election officials after the close
of early voting.

11. When county elections officials receive a returned mail-in absentee
ballot, the county officials review the information of the voter on the absentee
ballot envelope to determine whether the absentee ballot should be accepted or
rejected. After completing their review, the county elections officials update
the information in ENET to show that the absentee ballot was received by the
county elections office and either accepted or rejected.

12. ENET includes information about absentee voting, including
whether a voter has requested a mail-in absentee ballot but not returned it,

whether a voter has returned a mail-in absentee ballot, whether the mail-in
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absentee ballot was accepted or rejected, and whether a voter voted in-person
during early voting.

13. When a voter requests an absentee ballot but then appears at the
polls on Election Day without their ballot in hand, the poll official should check
with the registrar to ensure that no absentee ballot has been accepted for that
voter prior to having the voter execute a cancellation affidavit and then vote
using the BMD. That process applies whether the voter is checked in using the
PollPad or a paper list.

The State’s Interest

 

14. Printing and distributing an updated list of electors after the end
of early voting is not feasible. There are 3,116 precincts throughout the 159
counties in Georgia. Three days is not enough time to print and distribute
updated paper copies of the electors list, especially while resources are also
needed to finalize preparations for Election Day.

15. Moreover, a paper printout of the electors list after the close of
early voting would not capture voters who return absentee ballots after the
updated electors list is printed and would not eliminate the need for the poll
official to check with the registrar prior to allowing the voter to proceed with

the voting process.
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16. The Secretary of State has an interest in timely and accurate
administration of elections. Electronic pollbooks allow counties to receive
updated information from the electors list after the close of early voting during
the three days prior to Election Day.

17. Additionally, if paper pollbook backups were required to be used to
adjudicate voter eligibility, county election officials would be required to train
poll workers on an entirely new protocol before the election, which risks
interfering with the orderly administration and integrity of the election.

[signature on following page]
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I declare under penalty of perjury that the foregoing is true and correct.

Executed this 25th day of August, 2020. i". / [

CHRIS HARVEY )
